Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 1 of 8 PageID #: 266




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

 SIMONE E. PHOENIX,                                  :
            Plaintiff,                               :
                                                     :
         v                                           : C.A. NO.: 1:20-cv-00152-WES-PAS
                                                     :
 DAY ONE, DEBRA WESTGATE-SILVA,                      :
 FAMILY SERVICE OF RHODE ISLAND, INC., :
 CARLA CUELLAR, alias, TIMOTHY McGANN, :
 alias, PHILIP HARTNETT, alias, EDMOND               :
 ESTEN, alias, BRIAN DYER, alias, DWIGHT             :
 EDDY, alias, SEAN COMELLA, alias, JAMES             :
 CRYAN, alias, and JEFF RICHARDS, alias,             :
 THOMAS VERDI, alias, FRANCISCO COLON, :
 alias, MICHAEL WHEELER, alias, each                 :
 individually and in his capacity as a Providence    :
 Police officer, and CITY OF PROVIDENCE, by :
 and through it’s Treasurer, James J. Lombardi, III, :
                 Defendants.                         :

           DEFENDANTS, DAY ONE AND DEBRA WESTGATE-SILVA’S,
         ANSWER TO THE PLAINTIFF’S SECOND AMENDED COMPLAINT

                                    Introductory Statement.

 1.    Denied.

 2.    Denied.

 3.    Denied.

 4.    Denied.

 5.    Denied.

 6.    This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 7.    This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 2 of 8 PageID #: 267




                                        II.    PARTIES

 8.    This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 9.    This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 10.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 11.   Denied.

 12.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 13.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 14.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 15.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 16.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 17.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 18.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 19.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 20.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 21.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 22.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.



                                                 2
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 3 of 8 PageID #: 268




 23.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 24.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

                                       III.     Jurisdiction

 25.   Denied.

                                          IV.     Venue

 26.   Denied.

                                           V.        Facts

 27.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 28.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 29.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 30.    This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 31.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 32.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 33.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 34.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 35.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 36.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.



                                                 3
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 4 of 8 PageID #: 269




 37.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 38.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 39.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 40.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 41.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 42.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 43.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 44.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 45.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 46.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 47.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 48.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 49.   Denied.

 50.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 51.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 52.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

                                                 4
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 5 of 8 PageID #: 270




 53.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 54.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 55.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 56.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 57.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 58.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 59.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 60.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 61.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 62.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 63.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 64.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 65.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 66.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 67.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.



                                                 5
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 6 of 8 PageID #: 271




 68.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 69.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 70.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 71.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 72.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 73.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 74.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 75.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 76.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 77.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 78.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 79.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

 80.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.

                                    VII.    Claims for Relief

 81.   This defendant lacks sufficient information to form a belief as to the truth of this averment
       and therefore denies the same.




                                                 6
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 7 of 8 PageID #: 272




 82.   Defendants repeat, reallege, and incorporate by reference each and every response to the
       allegations contained in Paragraphs 1 through 81 of the complaint in response to Paragraph
       82, as if fully set forth herein.

                                    COUNT ONE
         Malicious Prosecution in Violation of the Fourth, Fifth and Fourteenth
        Amendments, Actionable Through 42. U.S.C. § 1983 Against All Defendants

 83.   Denied.

                                   COUNT TWO
                 Common Law Malicious Prosecution Against All Defendants

 84.   Denied.

                                  COUNT THREE
                    Common Law Abuse of Process Against All Defendants

 85.   Denied.

                                 AFFIRMATIVE DEFENSES

 1.    The plaintiff’s claims are barred by the doctrine of assumption of the risk.

 2.    The plaintiff’s claims are barred by a failure to mitigate such alleged damages.

 3.    The alleged damages are the result of the plaintiff's own conduct.

 4.    The plaintiff’s damages, if any, were caused by superseding and/or intervening causes.

 5.    The plaintiff’s damages, if any, were caused by persons, firms or corporations for whom
       this defendant is not legally responsible.

 6.    The plaintiff’s claims are barred by the doctrine of waiver and/or release.

 7.    The plaintiff’s claims are barred because the damages, if any, are the result of unrelated,
       pre-existing or subsequent conditions unrelated to the defendant's conduct.

 8.    The plaintiff’s claims are barred by the statute of limitations.

 9.    This defendant pleads the defense of qualified immunity.

 10.   This defendant pleads the defense of qualified privilege.




                                                 7
Case 1:20-cv-00152-WES-PAS Document 26 Filed 07/21/20 Page 8 of 8 PageID #: 273




               DEFENDANTS DEMAND TRIAL BY JURY AND DESIGNATE
                  RAJARAM SURYANARAYAN AS TRIAL COUNSEL

                                       Defendants, DAY ONE & DEBRA WESTGATE-SIVLA,
                                       By their Attorneys,


                                       /s/ Rajaram Suryanarayan_______________
                                       Rajaram Suryanarayan (#4451)
                                       GUNNING & LAFAZIA, INC.
                                       33 College Hill Road, Suite 25B
                                       Warwick, Rhode Island 02886
                                       Telephone: (401)521-6900
                                       Writer’s Direct Dial: (401)521-2647
                                       Facsimile: (401)521-6901
                                       Email: rsury@gunninglafazia.com

                                        CERTIFICATION

         I hereby certify that on this date, I electronically filed the within document with the Clerk
 of the Court using the CM/ECF system which will send notification of such filing(s) to all counsel
 of record. The document is available for viewing and downloading through the ECF system.



                                               /s/ Rajaram Suryanarayan




                                                  8
